                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         AT NASHVILLE

JILL MARIE FITCHEARD,                                )
                                                     )
               Plaintiff,                            )
                                                     )       No. 3:22-CV-00638
v.                                                   )       Judge Truager
                                                     )
METROPOLITAN GOVERNMENT OF                           )
NASHVILLE AND DAVIDSON                               )
COUNTY,                                              )
                                                     )
               Defendant.                            )

                                      NOTICE OF APPEARANCE

               Melissa Roberge hereby gives notice of her notice of appearance as counsel of record

for Defendant, the Metropolitan Government of Nashville and Davidson County.

                                                 Respectfully submitted by:

                                                 THE DEPARTMENT OF LAW OF THE
                                                 METROPOLITAN GOVERNMENT OF
                                                 NASHVILLE AND DAVIDSON COUNTY
                                                 WALLACE W. DIETZ (#9949)
                                                 DIRECTOR OF LAW


                                                 /s/ Melissa Roberge
                                                 Melissa Roberge, BPR #26230
                                                 Mallory Ricci, BPR #32492
                                                 SENIOR COUNSEL
                                                 Metropolitan Courthouse, Suite 108
                                                 P.O. Box 196300
                                                 Nashville, TN 37219
                                                 melissa.roberge@nashville.gov
                                                 mallory.ricci@nashville.gov
                                                 Attorneys for Defendant




{N0489430.1}


         Case 3:22-cv-00638 Document 6 Filed 08/22/22 Page 1 of 2 PageID #: 18
                              CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document has been
served via U.S. Mail to:

      Jill Marie Fitcheard
      2232 Arbor Pointe Way
      Hermitage, TN 37076

on this 22nd day of August, 2022.


                                        /s/ Melissa Roberge
                                        Melissa Roberge




{N0489430.1}                             2
         Case 3:22-cv-00638 Document 6 Filed 08/22/22 Page 2 of 2 PageID #: 19
